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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Case No. 1:14-cv-02887-JLK-MEH

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA, and
DEMETRIO VALERGA,
on their own and on behalf of all others similarly situated,

         Plaintiffs,

v.

THE GEO GROUP, INC.,

         Defendant.


     DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE
         GEO GROUP, INC.’S MOTION FOR DECERTIFICATION OF CLASS


         I, Adrienne Scheffey, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

         1.      I am an attorney for defendant The GEO Group, Inc. (“Defendant” or “GEO”) in

the above-captioned matter.

         2.      I submit this Declaration in support of GEO's Motion for Decertification of Class.

         3.      Attached is an index of attached exhibits as required by this Court’s practice

standards. The exhibits are also outlined below.



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         4.    Attached as Exhibit A are true and correct copies of excerpts of Kevin Martin's

deposition transcript dated November 19, 2019.

         5.    Attached as Exhibit B are true and correct copies of excerpts of Amber Martin's

30(b)(6) deposition transcript dated February 28, 2020 and true and correct copies of excerpts of

Amber Martin's deposition transcript dated October 9, 2019.

         6.    Attached as Exhibit C are true and correct copies of excerpts of Alejandro

Menocal's deposition transcript dated July 22, 2020.

         7.    Attached as Exhibit D are true and correct copies of excerpts of Hugo Hernandez

Ceren's deposition transcript dated June 24, 2020.

         8.    Attached as Exhibit E are true and correct copies of excerpts of Demetrio Valerga's

deposition transcript dated October 27, 2017.

         9.    Attached as Exhibit F are true and correct copies of excerpts of Dawn Ceja's

deposition transcript dated August 5, 2020.

         10.   Attached as Exhibit G are true and correct copies of excerpts of Jesus Yepez

Gaytan's deposition transcript dated November 16, 2017.

         11.   Attached as Exhibit H are true and correct copies of excerpts of Dagoberto

Vizguerra's deposition transcript dated February 21, 2018.

         12.   Attached as Exhibit I are true and correct copies of excerpts of Grisel Xahuentitla's

deposition transcript dated October 26, 2017.

         13.   Attached as Exhibit J are true and correct copies of excerpts of Sergio Gallegos'

deposition transcript dated June 30, 2020.




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         14.   Attached as Exhibit K are true and correct copies of excerpts of Joyce Quezada's

deposition transcript dated July 28, 2020.

         15.   Attached as Exhibit L are true and correct copies of excerpts of Martha Vasquez's

deposition transcript dated June 29, 2020.

         16.   Attached as Exhibit M are true and correct copies of excerpts of Luis Pagan's

deposition transcript dated July 8, 2020.

         17.   Attached as Exhibit N is a true and correct copy of Page 1 of Exhibit 6 to the

deposition transcript of Alejandro Hernandez-Torres taken July 16, 2020.

         18.   Attached as Exhibit O are true and correct copies of excerpts of Alejandro

Hernandez Torres' deposition transcript dated July 16, 2020.

         19.   Attached as Exhibit P is a true and correct copy of the declaration of Dawn Ceja

dated August 18, 2020.

         20.   Attached as Exhibit Q is a true and correct copy of Exhibit 17 to the deposition

transcript of Martha Vasquez taken June 29, 2020.

         21.   Attached as Exhibit R is a true and correct copy of detainee Vanks' disciplinary

report dated December 9, 2012.

         22.   Attached as Exhibit S is a true and correct copy of the rebuttal expert report of

Jeffrey Kropf, Ph.D. dated June 2020.

         23.   Attached as Exhibit T is a true and correct copy of Exhibit E to the expert report

of Dr. Stuart Grassian.




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         24.    Attached as Exhibit U are true and correct copies of excerpts of Dr. Stuart

Grassian's deposition transcript dated July 23, 2020, relevant to, and cited in GEO's Motion for

Decertification of Class.

         25.    Attached as Exhibit V are excerpts from a prior report of Plaintiffs' expert, Dr.

Grassian, submitted in In re: Marquez, Personal Representative to the Estate of Michael Mattis v.

The GEO Group, et. al.; State of New Mexico, County of Santa Fe, First Judicial District Court,

No. D-101-CV-2016-02244. This document is filed as Level 1 Restricted.

         26.    Attached as Exhibit W is a true and correct copy of the rebuttal expert report of

Dr. Anthony Hayter dated June 17, 2020.

         27.    Attached as Exhibit X are excerpts from a prior report of Plaintiffs' expert, Dr.

Grassian, submitted in Reddock v. Attorney General of Canada.

         Executed this 19th day of August, 2020, in Denver, Colorado.

                                                 s/ Adrienne Scheffey
                                                 Adrienne Scheffey




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                                     CERTIFICATE OF SERVICE

             I hereby certify on this 19th day of August, 2020, a true and correct copy of the foregoing

    DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE GEO

    GROUP, INC.'S MOTION FOR DECERTIFICATION OF CLASS was filed and served

    electronically via the Court’s CM/ECF system on the following:

                                          Counsel for Plaintiffs:
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                                                          s/ Nick Mangels
                                                          Nick Mangels




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on their own and on behalf of all others similarly situated,

         Plaintiffs,

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THE GEO GROUP, INC.,

         Defendant.


INDEX OF EXHIBITS TO DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT
OF DEFENDANT THE GEO GROUP, INC.’S MOTION FOR DECERTIFICATION OF
                             CLASS



 Exhibit                                         Description

     A       Excerpts of Kevin Martin's Deposition Transcript dated November 19, 2019
             Excerpts of Amber Martin's 30(b)(6) Deposition Transcript dated February 29, 2020
     B
             and Excerpts of Amber Martin's Deposition Transcript dated October 9, 2019
     C       Excerpts of Alejandro Menocal's Deposition Transcript dated July 22, 2020

     D       Excerpts of Hugo Hernandez Ceren's Deposition Transcript dated June 24, 2020

     E       Excerpts of Demetrio Valerga's Deposition Transcript dated October 27, 2017




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 Exhibit                                         Description

    F        Excerpts of Dawn Ceja's Deposition Transcript dated August 5, 2020

    G        Excerpts of Jesus Yepez Gaytan's Deposition Transcript dated November 16, 2017

    H        Excerpts of Dagoberto Vizguerra's Deposition Transcript dated February 21, 2018

    I        Excerpts of Grisel Xahuentitla's Deposition Transcript dated October 26, 2017

    J        Excerpts of Sergio Gallegos' Deposition Transcript dated June 30, 2020

    K        Excerpts of Joyce Quezada's Deposition Transcript dated July 28, 2020

    L        Excerpts of Martha Vasquez's Deposition Transcript dated June 29, 2020

    M        Excerpts of Luis Pagan's Deposition Transcript dated July 8, 2020
             Page 1 of Exhibit 6 to the Deposition Transcript of Alejandro Hernandez-Torres taken
    N
             July 16, 2020
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    P        Declaration of Dawn Ceja dated August 18, 2020

    Q        Exhibit 17 to the Deposition Transcript of Martha Vasquez taken June 29, 2020

    R        Detainee Vanks' Disciplinary Report dated December 9, 2012

    S        Rebuttal Expert Report of Jeffrey Kropf, Ph.D.

    T        Exhibit E to the Expert Report of Dr. Stuart Grassian

    U        Excerpts of Dr. Stuart Grassian's Deposition Transcript dated July 23, 2020
             Excerpts of Dr. Stuart Grassian's Expert Report in In re: Marquez, Personal
             Representative to the Estate of Michael Mattis v. The GEO Group, et. al.; State of
    V
             New Mexico, County of Santa Fe, First Judicial District Court, No. D-101-CV-2016-
             02244 – Filed with this Court as Level 1 Restricted
    W        Rebuttal Expert Report of Dr. Anthony Hayter
             Excerpts of Dr. Stuart Grassian's Expert Report in Reddock v. Attorney General of
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             Canada



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